             Case 6:23-ap-00009-TPG           Doc 9    Filed 03/07/24      Page 1 of 2




                                       ORDERED.
 Dated: March 06, 2024




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                 www.flmb.uscourts.gov

In re:
                                                              Case No.: 6:21-bk-00733-TPG
CYNTHIA R. SEPULVEDA,                                         Chapter 13

            Debtor.
____________________________________/

CYNTHIA R. SEPULVEDA,
                       Plaintiff,
v.                                                            ADV. NO.: 6:23-ap-00009-TPG
UNITED STATES DEPARTMENT
OF EDUCATION.

                       Defendant.
                                               /

                          AGREED PARTIAL FINAL JUDGMENT

         This case came before the Court without a hearing on Plaintiff’s Complaint (Doc. 1)

seeking to determine the dischargeability of Defendant’s claims pursuant to 11 U.S.C. §523 (a)(8).

Defendant does not contest the Court’s partial discharge of Debtor’s debt at issue in this adversarial
             Case 6:23-ap-00009-TPG           Doc 9     Filed 03/07/24     Page 2 of 2




proceeding. By submission of this agreed final judgment for entry, the submitting counsel

represents that the opposing party consents to its entry. Accordingly, it is

       ORDERED:

       1.         Judgment is entered in part in favor of the Plaintiff, Cynthia R. Sepulveda on her

Complaint.

       2.         Upon the payment by plaintiff to defendant of $16,000.00 through her Chapter 13

Plan and upon the successful completion of such plan and discharge, defendant shall discharge

$134,884.00 of the federal student loans owed by plaintiff and which are the subject of this

adversary proceeding.

       3.         In accordance with the parties’ agreement and the above conditions, the Court

hereby declares this sum ($134,884.00) dischargeable pursuant to 11 U.S.C. § 523(a)(8).



                                                     ###

Clerk to serve.
